      CASE 0:18-cv-03191-JNE-BRT Document 115 Filed 06/30/20 Page 1 of 3




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 SAMANTHA SOHMER and KATHY L.                      Court File No. 18-cv-03191-JNE-BRT
 FELLGREN, Individually and on
 Behalf of All Others Similarly Situated,,
                                                   MEET AND CONFER
                             Plaintiffs,           STATEMENT

 v.

 UNITEDHEALTH GROUP INC.,
 UNITED HEALTHCARE SERVICES,
 INC., UNITED HEALTHCARE
 INSURANCE COMPANY, OPTUM,
 INC., and OPTUMRX, INC.,,

                             Defendants.


       Pursuant to Local Rule 7.1(a), Plaintiffs certify that on counsel for Plaintiffs met

and conferred telephonically and by email with counsel for Defendants on multiple

occasions between June 24 and June 29, 2020, regarding Plaintiffs’ Motion for Judgment

on the Pleadings, but were unable to reach agreement on any of the issues set forth in this

Motion.


 Dated: June 30, 2020                      Respectfully submitted,

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                                               1
    CASE 0:18-cv-03191-JNE-BRT Document 115 Filed 06/30/20 Page 2 of 3




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                                      2
   CASE 0:18-cv-03191-JNE-BRT Document 115 Filed 06/30/20 Page 3 of 3




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                                     3
